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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION


STATE OF TEXAS; STATE OF
LOUISIANA,                                            Civ. Action No. 6:21-cv-00016


                      Plaintiffs,

       v.

The UNITED STATES OF AMERICA;
ALEJANDRO MAYORKAS, Secretary of the
United States Department of Homeland
Security, in his official capacity; UNITED
STATES DEPARTMENT OF HOMELAND
SECURITY; TROY MILLER, Senior Official
Performing the Duties of the Commissioner of
U.S. Customs and Border Protection, in his
official capacity; U.S. CUSTOMS AND
BORDER PROTECTION; TAE JOHNSON,
Acting Director of U.S. Immigration and
Customs Enforcement, in his official capacity;
U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT;          TRACY        RENAUD,
Senior Official Performing the Duties of the
Director of the U.S. Citizenship and
Immigration Services, in her official capacity;
U.S. CITIZENSHIP AND IMMIGRATION
SERVICES,

                      Defendants.



      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR EXTRA-RECORD
                              DISCOVERY




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        Defendants misconstrue the effect of the Fifth Circuit’s stay and misunderstand the record

rule. They also never address how to justify their submission of extra-record evidence in this case

with their argument that this case is limited to the administrative record. ECF No. 103 at 2. And

they place much weight on Dep’t of Commerce v. New York, 139 S. Ct. 2551 (2019), which held

in relevant part only that extra-record discovery before production of the administrative record was

premature. Id. at 2574 (“the District Court should not have ordered extra-record discovery when it

did. At that time, the most that was warranted was the order to complete the administrative

record.”).

I.      The stay of the preliminary injunction does not fundamentally change the dynamics
        of this case.
        Defendants argue that the stay granted by the motions panel of the Fifth Circuit “largely

found that Plaintiffs’ challenge to Defendants’ exercise of enforcement discretion likely is not

subject to judicial review.” ECF No. 104 at 2. That assertion is belied by the Fifth Circuit’s

disposition that “[t]he injunction will go into effect to the extent it prevents DHS and ICE officials

from relying on the memos to refuse to detain aliens described in 1226(c)(1) against whom

detainers have been lodged or aliens who fall under section 1231(a)(1)(A) because they have been

ordered removed.” Texas v. United States, ---F.4th---, 2021 WL 4188102, *7 (5th Cir. Sept. 15,

2021). If those two statutory provisions were not subject to judicial review under the

Administrative Procedure Act (“APA”), the motions panel would not have allowed that injunction

to go into effect at all.

         Regardless, the motions panel’s ruling merely partially paused the enforcement of this

Court’s preliminary injunction pending the appeal on the merits of that injunction—and that

decision does not bind the merits panel of the Fifth Circuit. Texas Democratic Party v. Abbott, 978

F.3d 168, 176 (5th Cir. 2020). In addition, the motions panel only addressed Plaintiffs’ statutory


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claims, Texas, 2021 WL 4188102, *2; it did not address Plaintiffs’ claims that the Memoranda

were arbitrary and capricious, ECF No. 1 at 24–25 (Count III); were issued without the necessary

notice-and-comment rulemaking procedures, ECF No. 1 at 26 (Count IV); violate the Take Care

Clause of the Constitution, ECF No. 1 at 27 (Count VI); or violate the binding agreements between

Texas and Louisiana and DHS, ECF No. 1 at 26–27 (Count V). Even were the issuance of the

Memoranda here “agency action[s] committed to agency discretion by law,” 5 U.S.C. § 701(a)(2),

that provision would not preclude the Court from evaluating these other claims, other than the

arbitrary-and-capricious claim.

       The only effect the motions panel’s ruling has on these proceedings is that the preliminary

injunction has been pared back regarding one statutory claim: that Defendants “shall take into

custody any alien who” has committed certain criminal offenses. 8 U.S.C. § 1226(c)(1). The

resolution at trial of that issue would be in a different posture, and the claims unaddressed by the

motions panel are completely unencumbered by that ruling.

II.    Defendants misunderstand the scope of the record rule.

           A. The record rule does not apply to most of Plaintiffs’ claims.

       Defendants argue that the record rule is not limited to arbitrary-and-capricious claims and

applies “regardless of the legal theory the plaintiff invokes.” ECF No. 104 at 6. As explained in

their Motion, Plaintiffs may rely on a cause of action “in equity”—that does not depend on the

APA—for their statutory and constitutional claims, as well as their claim for a breach of the

agreements with DHS. ECF No. 103 at 7–8.

       Defendants make two points in favor of the record rule applying to Count V, the violation

of DHS’s agreements with Texas and Louisiana. First, they rehash their jurisdictional argument

that the Court of Federal Claims has exclusive jurisdiction over this claim. ECF No. 104 at 7.

Plaintiffs have explained why that tribunal has no jurisdiction over this claim. See ECF No. 51 at

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16–17. Second, they assert that any attempt to enforce the agreements would be subject to the

record rule because it would rely on remedies created by the APA. ECF No. 104 at 8. But Plaintiffs

can rely on an equitable cause of action outside the APA for this claim, which is expressly provided

for in the agreements at issue. ECF No. 18 at 28.

        Defendants also argue that courts apply the record rule to constitutional claims. ECF No.

104 at 8–10. But even the cases Plaintiffs cite recognize the split of authority on this issue. See

Chang v. USCIS, 254 F. Supp. 3d 160, 161, 162 (D.D.C. 2017) (noting the “disagreement among

district courts whether the assertion of constitutional claims takes a case outside the procedural

strictures of the APA, including record review,” and citing cases); Dallas Safari Club v. Bernhardt,

518 F. Supp. 3d 535, 539 & n. 5 (D.D.C. 2021) (noting that courts facing constitutional challenges

may allow discovery, citing cases). In Chang, the court denied discovery on the constitutional

claims “particularly when the Court ha[d] not yet seen the administrative record,” 254 F. Supp. 3d

at 163, and explained that the constitutional claim by plaintiffs there—a equal protection claim

without a suspect class and thus evaluated on a rational basis—was virtually identical to the

arbitrary and capricious standard, and the information necessary for the Court to determine

whether the agency’s actions satisfied either standard would be found in the administrative record.

Id. at 162.

        That is not the case here. Whether Defendants are satisfying the constitutional duty to take

care that the laws are faithfully executed in this context will not be found in the administrative

record, as this evaluation depends on the actual enforcement of the Memoranda and how they limit

agents or officials from enforcing the laws regarding detention.

        Judge Kacsmaryk rejected the same arguments Defendants make here in Texas v. Biden,

No. 2:21-cv-067-Z (N.D. Tex.). See ECF No. 103-1 at 7–8 (order in that case attached as an exhibit,



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explaining how the same cases cited by Defendants here do not undermine that the “Fifth Circuit

has long held that a court reviewing the constitutionality of an agency action must make an

“’independent assessment of a citizen’s claim of constitutional right.’”) (quoting Porter v.

Califano, 592 F.2d 770, 780 (5th Cir. 1979)). Just as in that case, here “Plaintiffs’ constitutional

challenge does not challenge the ‘substance’ of the agency’s decision. Rather, Plaintiffs’

constitutional challenge focuses on the effect of the [Memoranda] on the federal government’s

ability to fulfill its duties under federal law.” ECF No. 103-1 at 8 (emphasis in original). Plaintiffs

are entitled to discovery to ascertain the full scope of the effect of the Memoranda, which is

relevant to all of Plaintiffs’ claims, and the Court will have the opportunity to judge the propriety

of any particular discovery request in light of the administrative record filed in this case.

           B. Exceptions to the record rule permit discovery here.

       Defendants fail to recognize that courts recognize exceptions to the record rule beyond the

three they cite from Medina Cty. Envtl. Action Ass’n v. Surface Transp. Bd., 602 F.3d 687, 706

(5th Cir. 2010). ECF No. 104 at 10. But Medina did not purport to limit the previously recognized

exceptions. Gulf Coast Rod Reel & Gun Club, Inc. v. U.S. Army Corps of Engineers, No. 3:13-cv-

126, 2015 WL 1883522, at *1 (S.D. Tex. Apr. 20, 2015) (Costa, J.). These exceptions include:

               (1) when agency action is not adequately explained in the record
               before the court;

               (2) when the agency failed to consider factors which are relevant to
               its final decision;

               ***

               (4) when a case is so complex that a court needs more evidence to
               enable it to understand the issues clearly;

               (5) in cases where evidence arising after the agency action shows
               whether the decision was correct or not;

               (6) in cases where agencies are sued for a failure to take action[.]

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       Id. at *2 (footnote omitted). These exceptions apply here.

       This Court has noted the relevance of the mechanics of the preapproval process and

restrictions on discretion imposed on ICE agents and officials by the Memoranda for determining

whether the notice-and-comment requirements apply, ECF No. 79 at 131, 135–36, 138; and for

determining whether there is final agency action, id. at 58. The administrative record itself does

not set forth how the Memoranda are being applied to restrain enforcement discretion. This case

is within the exceptions listed above, and extra-record evidence is needed to allow the Court to

understand how the Memoranda operate in order to make these determinations.

       Defendants are puzzled how Plaintiffs could need discovery on standing, “as it is Plaintiffs

who should have relevant information on” that issue. ECF No. 104 at 12. While arguably true as

to injury in fact, relevant information for the remaining prongs for Article III standing—causation

(or traceability) and redressability—are within the possession of Defendants.

       The Court has pointed to the detainers rescinded in Texas and Louisiana to show the

connection necessary between these harms and the policies implemented by the Memoranda. ECF

No. 79 at 40. That information was supplied by Plaintiffs, as it is in their possession. But the Court

also noted that “the number of aliens who would otherwise be detained in the entire United States

is relevant to estimating the impact of the Memoranda on the States in this case . . . [because] aliens

are free to move among states.” ECF No 79 at 41 (citation omitted); see also ECF No. 79 at 42–

45 (noting Defendants’ argument against redressability based on lack of information submitted by

Plaintiffs that would show that if Memoranda were enjoined there would be lower crime levels in

the States). Much of that information—including the numbers and circumstances surrounding

rescinded detainers in other States—is in the hands of Defendants, absent from the administrative

record, and requires discovery. Additionally, these same considerations are also relevant to the


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issue of irreparable harm for injunctive relief. ECF No. 79 at 145, and to the agency failing to

consider the relevant factors, including the costs to the States (as the mechanism of how the

Memoranda actually operate to reduce detention by agents and officials of ICE would reveal the

extent of the costs).

                                           CONCLUSION

        Plaintiffs respectfully request that the Court allow discovery in this case.

Date: September 29, 2021                   Respectfully submitted.

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        I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on September 29, 2021, which automatically serves all counsel of record who are
registered to receive notices in this case.

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